   One Hundred Sixteenth Omnibus Objection                                                                                                          PG&E Corporation and Pacific Gas and Electric Company
                                                                                              Exhibit 1
                                                                                                                                                                     Case No 19-30088 Jointly Administered




                                              Claims To Be
                                             Disallowed and                                                                                                                        Basis for Objection
      Original Creditor                         Expunged           Debtor        Date Filed    Secured    Administrative   Priority   Unsecured           Total


        1169 Euclid Avenue LLC                  106354        PG&E               8/13/2020      $0.00        $0.00         $0.00       $979.14           $979.14                     No Response to
        Prego Properties 1212A Union                          Corporation and                                                                                                      Information Request
        Street                                                Pacific Gas and
                                                              Electric Company




       Case: 19-30088
       San Francisco, CA 94109



        Barney, Sheri                            85515        PG&E               10/21/2019     $0.00        $0.00         $0.00       $450.00           $450.00                     No Response to
        136 Christine Lynn Dr.                                Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Morgan Hill, CA 95037                                  Electric Company



        Bohanna, Scott                           5765         PG&E                8/6/2019      $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to




       Doc# 12506-1
        2383 Corte de la Jara                                 Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Pleasanton, CA 94566                                   Electric Company



        Broussard, Cheraun Lovell                86674        PG&E               10/24/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        2420 Willow Pass Rd #321                              Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Baypoint, CA 94565                                     Electric Company




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Filed: 06/16/22
        Clever, Alex                             86282        PG&E               10/21/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        Greg Skikos One Sansome Street,                       Corporation and                                                                                                      Information Request
        Ste. 2830                                             Pacific Gas and
                                                              Electric Company
       San Francisco, CA 94104



        Daane, Linda                             5495         PG&E                8/7/2019      $0.00        $0.00         $0.00       $8,954.65        $8,954.65                    No Response to
        156 Highland Ave                                      Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Los Gatos, CA 95030                                    Electric Company



        Daane, Linda                              220         PG&E               2/12/2019      $0.00        $0.00         $0.00       $8,954.65        $8,954.65                    No Response to
        156 Highland Ave                                      Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Los Gatos, CA 95030                                    Electric Company




       Entered: 06/16/22 12:28:53
        David and Kit Sondergeld                 83969        PG&E               10/21/2019     $0.00        $0.00         $0.00      $250,000.00      $250,000.00                   No Response to
        3251 Aspara Dr                                        Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Clayton, Ca 94517                                      Electric Company




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   One Hundred Sixteenth Omnibus Objection                                                                                                         PG&E Corporation and Pacific Gas and Electric Company
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                                              Claims To Be
                                             Disallowed and                                                                                                                       Basis for Objection
      Original Creditor                         Expunged           Debtor        Date Filed    Secured    Administrative   Priority   Unsecured          Total


        Fallstead, Linda                         94841        PG&E               12/31/2019     $0.00        $0.00         $0.00        $0.00            $0.00                      No Response to
        9493 Pinto Pl                                         Corporation and                                                                                                     Information Request
                                                              Pacific Gas and
       Lower Lake, CA 95457                                   Electric Company




       Case: 19-30088
        Flores , Dominga                         83230        PG&E               10/20/2019     $0.00        $0.00         $0.00      $13,344.57      $13,344.57                    No Response to
        P.O. BOX 1238                                         Corporation and                                                                                                     Information Request
                                                              Pacific Gas and
       Woodridge, CA 95258                                    Electric Company



        Flores, Dominga                          1657         PG&E               3/15/2019      $0.00        $0.00         $0.00      $13,344.57      $13,344.57                    No Response to
        P.O. Box 1238                                         Corporation and                                                                                                     Information Request




       Doc# 12506-1
                                                              Pacific Gas and
       Woodbridge, CA 95258                                   Electric Company



        Gauthier, Carol                          88564        PG&E               12/14/2019     $0.00        $0.00         $0.00        $0.00            $0.00                      No Response to
        PO Box 6285/ 16247 30th Ave                           Corporation and                                                                                                     Information Request
                                                              Pacific Gas and
       Clearlake, CA 95422                                    Electric Company




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Filed: 06/16/22
        George McArthur, McArthur                87025        PG&E               10/24/2019     $0.00        $0.00         $0.00      $29,869.00      $29,869.00                    No Response to
        Livestock Co.                                         Corporation and                                                                                                     Information Request
        Mark D. Norcross 2515 Park                            Pacific Gas and
        Marina Drive, Ste. 102                                Electric Company
       Redding, CA 96001



        Gibson , Idella                          94485        PG&E               12/30/2019     $0.00        $0.00         $0.00      $25,000.00      $25,000.00                    No Response to
        870 Browning street #8                                Corporation and                                                                                                     Information Request
                                                              Pacific Gas and
       Redding, CA 96003                                      Electric Company



        Haggerty, Peter                          86271        PG&E               10/21/2019     $0.00        $0.00         $0.00        $0.00            $0.00                      No Response to
        7645 oak leaf dr 7645 oak leaf dr                     Corporation and                                                                                                     Information Request
                                                              Pacific Gas and
       SANTA ROSA, CA 95409                                   Electric Company




       Entered: 06/16/22 12:28:53
        Johnson, Cassandra                       86826        PG&E               10/24/2019     $0.00        $0.00         $0.00        $0.00            $0.00                      No Response to
        2420 Willow Pass Rd Unit 314                          Corporation and                                                                                                     Information Request
        Bldg 3                                                Pacific Gas and
                                                              Electric Company
       Bay Point, CA 94565-3374




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   One Hundred Sixteenth Omnibus Objection                                                                                                          PG&E Corporation and Pacific Gas and Electric Company
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                                              Claims To Be
                                             Disallowed and                                                                                                                        Basis for Objection
      Original Creditor                         Expunged           Debtor        Date Filed    Secured    Administrative   Priority   Unsecured           Total


        Just, Margaret A                         4319         PG&E                8/1/2019      $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        20 Veronese Ct                                        Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       St. Augustine, FL 32086                                Electric Company




       Case: 19-30088
        Kelly, Linda L.                          86689        PG&E               10/22/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        690 High Street SE                                    Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Salem, OR 97301                                        Electric Company



        Larue, Roderick                          60744        PG&E               10/18/2019     $0.00        $0.00         $0.00       $2,200.00        $2,200.00                    No Response to
        12322 Fiori Lane                                      Corporation and                                                                                                      Information Request




       Doc# 12506-1
                                                              Pacific Gas and
       Sebastopol, CA 95472                                   Electric Company



        Laura Thompson-Sanford &                 95237        PG&E               12/31/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        Richard JA Thompson                                   Corporation and                                                                                                      Information Request
        15345 Fawn Ridge Dr PO Box                            Pacific Gas and
        151                                                   Electric Company




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       French Gulch, CA 96033




Filed: 06/16/22
        Meiggs, Deanna                           5905         PG&E                8/3/2019      $0.00        $0.00         $0.00       $1,867.00        $1,867.00                    No Response to
        25 Donnie Ln                                          Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Willows, CA 95988-2914                                 Electric Company



        Mountain F Enterprises, Inc.             79158        Pacific Gas and    10/21/2019     $0.00        $0.00         $0.00      $625,000.00      $625,000.00                   No Response to
        G. Kelley Reid 660 Las Gallinas                       Electric Company                                                                                                     Information Request
        Avenue, Suite B
       San Rafael, CA 94903



        Plant, James                             35529        PG&E               10/16/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        4560 Eight Mile Rd                                    Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Camino, CA 95709-9551                                  Electric Company




       Entered: 06/16/22 12:28:53
        Sierra Jeep Tours LLC                    8209         PG&E                9/3/2019      $0.00        $0.00         $0.00      $32,822.23       $32,822.23                    No Response to
        Kristina Tracy PO Box 133                             Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Fish Camp, CA 93623




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                                                              Electric Company




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   One Hundred Sixteenth Omnibus Objection                                                                                                          PG&E Corporation and Pacific Gas and Electric Company
                                                                                              Exhibit 1
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                                              Claims To Be
                                             Disallowed and                                                                                                                        Basis for Objection
      Original Creditor                         Expunged           Debtor        Date Filed    Secured    Administrative   Priority   Unsecured           Total


        Soliz, Jarred                            92148        PG&E               12/27/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        c/o Attorney John C. Lemon 1350                       Corporation and                                                                                                      Information Request
        Columbia Street, Suite 600                            Pacific Gas and
                                                              Electric Company




       Case: 19-30088
       San Diego, CA 92101



        Soliz, Jarred                            92196        PG&E               12/27/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        John C. Lemon 1350 Columbia                           Corporation and                                                                                                      Information Request
        Street, Suite 600                                     Pacific Gas and
                                                              Electric Company
       San Diego, CA 92101




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        Soliz, Jarred                            92155        PG&E               12/27/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        c/o Attorney John C. Lemon 1350                       Corporation and                                                                                                      Information Request
        Columbia Street, Suite 600                            Pacific Gas and
                                                              Electric Company
       San Diego, CA 92101



        Titus, V Michelle                        93929        PG&E               12/30/2019     $0.00        $0.00         $0.00      $110,000.00      $110,000.00                   No Response to
                                                              Corporation and                                                                                                      Information Request




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        PO Box 920
                                                              Pacific Gas and
       Fall River Mills, CA 96028                             Electric Company




Filed: 06/16/22
        Turtle Creek Ranch, LLC                  8124         PG&E               8/27/2019      $0.00        $0.00         $0.00      $123,185.00      $123,185.00                   No Response to
        3165 Santa Maria Dr.                                  Corporation and                                                                                                      Information Request
                                                              Pacific Gas and
       Concord, CA 94518                                      Electric Company



        Valley High LLC                          63526        PG&E               10/21/2019     $0.00        $0.00         $0.00         $0.00            $0.00                      No Response to
        Greg Skikos One Sansome Street,                       Corporation and                                                                                                      Information Request
        Ste. 2830                                             Pacific Gas and
                                                              Electric Company
       San Francisco, CA 94104



        Whiteley, Daniel C                       56673        PG&E               10/15/2019     $0.00        $0.00         $0.00      $102,893.00      $102,893.00                   No Response to
        3103 Cherry Valley Cir                                Corporation and                                                                                                      Information Request
                                                              Pacific Gas and




       Entered: 06/16/22 12:28:53
       Fairfield, CA 94534                                    Electric Company



        Whiteley, Daniel C                       75553        PG&E               10/15/2019     $0.00        $0.00         $0.00      $102,893.00      $102,893.00                   No Response to
        3103 Cherry Valley CIR                                Corporation and                                                                                                      Information Request




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                                                              Pacific Gas and
       Fairfield, CA 94534                                    Electric Company




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   One Hundred Sixteenth Omnibus Objection                                                                                                            PG&E Corporation and Pacific Gas and Electric Company
                                                                                              Exhibit 1
                                                                                                                                                                        Case No 19-30088 Jointly Administered




                                              Claims To Be
                                             Disallowed and                                                                                                                           Basis for Objection
      Original Creditor                         Expunged           Debtor        Date Filed    Secured    Administrative   Priority     Unsecured           Total


        Williams Jr, Michael J.                  85194        PG&E               10/21/2019     $0.00        $0.00         $0.00          $0.00             $0.00                       No Response to
        28 Starview Dr                                        Corporation and                                                                                                         Information Request
                                                              Pacific Gas and
       Oakland, CA 94618                                      Electric Company




       Case: 19-30088
            Claims To Be Expunged Totals       Count: 33                                        $0.00        $0.00         $0.00      $1,451,756.81     $1,451,756.81




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       Entered: 06/16/22 12:28:53
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